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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

      MARK A. LONG, on behalf of himself )
      and others similarly situated,     )
                                         )
                         Plaintiff,      )
                                         )
                                         )
                 v.                      )              CAUSE NO. 1:17-CV-142-SEB-MG
                                         )
      MADISON COUNTY SHERIFF             )
      (in his Official Capacity),        )
                                         )
                         Defendant.      )

               CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE

         This Class Action Settlement Agreement and Release (“Agreement”) is made between

  and among Mark Long (“Named Plaintiff”), individually and as representative of the Settlement

  Class (collectively “Plaintiffs”), and Madison County Sheriff Scott Mellinger, in his official

  capacity (“Defendant”).

                                        I. INTRODUCTION

        1.    This Agreement shall fully and finally settle all claims by the Plaintiffs against

              the Defendant that were or could have been asserted in the case of Mark A.

              Long, on behalf of himself and others similarly situated v. Madison County

              Sheriff (in his Official Capacity), U.S. District Court, Southern District of

              Indiana (Indianapolis Division), Case No. 1:17-CV-142-SEB-MG (hereafter,

              “the Action.”).




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                                         II. RECITALS

       2.   This is a class action in which the Named Plaintiff alleged in the Complaint that

            the Defendant violated the United States Constitution in connection with

            policies, procedures and/or customs regarding the detention and handling of

            suspects arrested without a warrant who were incarcerated in the Madison

            County Jail.

       3.   The Sheriff, who is named in his official capacity, expressly denies any

            allegation that he or any of his employees intentionally violated the rights of any

            detainee housed at the Madison County Jail. However, this Defendant

            acknowledges the requirement of a prompt judicial determination of probable

            cause following a warrantless arrest pursuant to Gerstein v. Pugh, 420 U.S. 103

            (1975) and County of Riverside v. McLaughlin, 500 U.S. 44 (1991). This

            Defendant further stipulates that there is sufficient evidence in this case to

            establish the existence of a constitutionally inadequate custom at the Madison

            County Jail from January 13, 2015 to July 1, 2018, whereby certain individuals

            who were arrested without a warrant and booked into the Jail were held over 48

            hours after their arrest in the absence of a timely judicial probable cause

            determination and/or other timely judicial order for their continued detention

            and/or without any other valid reason to hold them, and that said constitutionally

            inadequate custom was the cause of the Fourth Amendment violations suffered

            by the Plaintiff and the class members.

       4.   The Parties stipulate that beginning on July 1, 2018, the Sheriff implemented

            changes to policies, practices, procedures and/or customs at the Madison County

            Jail to ensure that individuals arrested without a warrant and deposited in the


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            Madison County Jail have received probable cause determinations within 48

            hours of their arrest and/or other judicial order for their continued detention, and

            in the absence of that, received a timely pre-trial release.

       5.   The Parties stipulate that the loss of liberty caused to the class representative

            and the putative class members was caused by the Sheriff only in his official

            capacity.

       6.   The Parties stipulate there has been, by way of this lawsuit, a corresponding

            alteration in the legal relationship of the Parties and a judicial imprimatur on the

            change. The Parties stipulate that the class members’ over-detention is a loss

            and harm caused by the alleged constitutionally inadequate custom in effect

            which changed the legal relationship of the parties (which the Plaintiff contends

            has been proven). By this stipulation, the Parties have gained judicial approval

            of the relief vis-a-vis the merits of the case.

       7.   The Parties, by their respective counsel, stipulate that Plaintiff is a prevailing

            party for purposes of 42 U.S.C. §§ 1983 and 1988, and that Plaintiff has met the

            standard for prevailing-party status set forth in Buckhannon Board & Care

            Home, Inc. v. West Virginia Dept. of Health & Human Resources, 532 U.S. 598

            (2001). Counsel for the Plaintiffs will petition the Court for attorneys’ fees; the

            Defendant will have the opportunity to review Counsel’s petition and object.

       8.   The Court entered an order certifying the Class on April 15, 2020, appointing

            Named Plaintiff Mark Long as representative of the Settlement Class, and

            appointing the following as Class Counsel: Christopher C. Myers, Ilene M.

            Smith, 809 S. Calhoun, Suite 400, Fort Wayne, IN 46802.




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       9.     Plaintiffs and Defendant desire to affect a full and final settlement, a release of

              all claims against Defendant, and dismissal with prejudice of all claims against

              Defendant in the Action on the terms set forth below, subject to the approval of

              the Court.

       10.    The Parties agree a claims administrator will be used to administer this

              Agreement.

                                       III. INCORPORATION

        11.      The Recitals above are incorporated into this Agreement by this reference.

        12.      All Exhibits attached hereto are hereby incorporated into this Agreement by

                 this reference.

                                   IV. GENERAL DEFINITIONS

        13.      The “Parties” to this Agreement are:

                  a. Named Plaintiff, Mark Long, individually and on behalf of the
                     Settlement Class (also referred to as “Releasors”); and

                 b. Defendant, Madison County Sheriff Scott Mellinger, in his official
                    capacity.

        14.      The “Settlement Class” is defined as follows:

                 a.   All persons who were arrested without a warrant between January 13,

                      2015 and July 1, 2018, and detained in the Madison County Jail for more

                      than 48 hours, without a judicial determination that probable cause

                      existed to continue to detain them for the offense for which they were

                      arrested, or without any other valid reason to hold the arrestees for more

                      than forty-eight hours, including but not limited to a warrant or hold from

                      another jurisdiction, except any person for whom a bona fide emergency



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                   or other extraordinary circumstance prevented Defendant from providing

                   a prompt probable cause review.

              b.   Named Plaintiff, Mark Long, is the class representative.

              c. The Settlement Class is comprised of two groups:

                   Group I: The Named Plaintiff and all Class Members, who suffered a
                   loss of liberty as a result of being over-detained; and

                   Group II: Individual Class Members who also timely submit Claims
                   Forms with respect to alleged emotional distress, mental anguish, loss of
                   income/wages, or other special damages above and beyond loss of
                   liberty.

              d. Persons to be excluded from the class include those persons who meet the

                   definition of the Settlement Class but who completed and provided to

                   Class Counsel notice of intent to opt-out from the Class and Settlement,

                   by submitting a timely Opt-Out form to Class Counsel.

              e. A “Class Member” is a member of the Settlement Class.

              f. “Class Counsel” for the Plaintiffs, the Named Plaintiff and the Settlement

                   Class, are Christopher C. Myers and, Associates; of the law firm

                   Christopher C. Myers & Associates.

              g. “Defense Counsel” are Casey Stansbury and Curt Graham, of Freeman,

                   Mathis & Gary, LLP.

              h. “Claims Administrator” is Rust Consulting. The Claims Administrator

                   shall provide Notices of the Agreement and distribution of settlement

                   funds, at the estimated cost of approximately $55,329.00. Payment for

                   these services will be made directly from the Defendant to the Claims

                   Administrator.



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              i. The “Releasees” are the Defendant, Madison County Sheriff, in his

                 individual and official capacity, Madison County, Indiana, and their

                 executors, successors, principals, insurers, employers, employees (former,

                 current and future), representatives (former, current and future), agents

                 (former, current and future), officers (former, current and future),

                 administrators, assigns, and any and all other persons or entities known

                 and unknown.

              j. The “Settlement Fund” will be an account created by the Claims

                 Administrator and funded by Defendant, pursuant to Paragraphs 29

                 through 32, in the amount of $623,591.04, which is the sum total of:

                     1. General Damages Claims. The maximum amount to be paid as
                        general damages for Class Members’ loss of liberty claims (based
                        on an hourly rate of $28/hour of over-detention).
                            i. Maximum amount to be paid for general damages is
                               $418,591.04 (Note: Any unclaimed general damages
                               revert to the Defendant as outlined herein, after Class
                               Counsel have been provided a reasonable opportunity to
                               locate and contact the unserved class members);

                            ii. The calculation for the general damages awards is based
                                upon 14,949.68 total hours x $28.00 per hour.

                     2. Special Damages Claims. Compensation to Class Members who
                        properly present their claim for special damages. The Defendant
                        shall not be required to pay more than $200,000 for special
                        damages. The Special Master will be responsible for reviewing
                        and determining any special damages to be awarded to Class
                        Members who timely and properly submit a special damages
                        claim. (Note: To the extent the Special Master awards special
                        damages totaling less than $200,000, the residual amount shall
                        revert to the Defendant as outlined herein);

                     3. Named Plaintiff’s Incentive Award. The Named Plaintiff’s
                        Incentive Award totals ($5,000).




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                k. “Claims payments” are payments to Class Members, including payments

                    to the class for general loss of liberty damages and Individualized Special

                    Damages Awards for those class members who timely filed statements of

                    special damages claims.

      l. Special Master: The Special Master will be responsible for reviewing and

      determining the amount be awarded to Class Members that properly submit a timely

      special damages claim, with the amount awarded to eligible Class Members to be

      subject to Court approval and with the total combined amount of Special Damages

      Awards to be consistent with the terms of this Settlement Agreement;

      m. The “Preliminary Approval Order” is an order by the Court preliminarily approving

      this Agreement. A proposed Preliminary Approval Order is attached as Exhibit “C”

      hereto, and further described in Paragraph 47 of this Agreement.

      n. “Final” refers to a judgment order in which:

                       1. A Judgment is a final and appealable judgment; and

                       2. No appeal has been taken from the judgment as of the date for

                           which the time period for appeal expired; or

                       3. An appeal or other review proceeding of the judgment is finally

                           concluded and the judgment is no longer subject to review by any

                           court by appeal, including petitions for rehearing, petitions for

                           writ of certiorari, and any such appeal is resolved affirming the

                           Final Order and Judgment in all material respects.




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      o. “Final Approval Order” is a final order and judgment entered by the Court granting

      Final approval of this Agreement. A proposed Final Approval Order is attached as

      Exhibit “D” hereto.

      p. “Fairness Hearing” is a hearing, conducted prior to the issuance of the Final

      Approval Order, in which the fairness, reasonableness, and adequacy of the proposed

      settlement is considered by the Court.

      q. “Business Day” is Monday through Friday, excluding government holidays.

      r. “Non-Business Day” is Saturday, Sunday, and all government holidays.

                             V. NOTICE OF CLASS AND SETTLEMENT

      15. Within thirty (30) days of the entry of the Preliminary Approval Order by the Court,

         the Claims Administrator shall send notice by first class U.S. Mail (“Mailed

         Notice”), in the form of Exhibit “A” attached hereto without material alteration, to

         the last-known address of each identified Class Member, whose names and last-

         known addresses are reasonably ascertainable from Madison County Sheriff arrest

         records, records from other arresting agencies, court records, and other public

         records. The identified Class Members are those appearing on the Parties’ Agreed to

         Data Charts of Class Members, attached as Exhibit E. Prior to the mailing, the

         Claims Administrator shall attempt to find updated addresses and verify the

         accuracy of the addresses of Class Members, and utilize social media, including

         without limitation Facebook, Twitter, and Myspace, to locate and contact Class

         Members, the costs of which are included in the administration costs described

         herein. The Mailed Notice shall:

                 a. Inform the Class Member of the Settlement Class, the proposed Class
                    Settlement, and the Fairness Hearing;


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                 b. Inform the Class Member to contact Class Counsel with questions
                    regarding the Settlement Class or terms of the Settlement Agreement;

                 c. Inform the Class Member how to assert a timely Special Damages
                    Claim;

                 d. Inform the Class member how to opt-out of the Class if they so choose;

                 e. Inform the Class Member of their right to object to the Settlement
                    Agreement and/or its terms; and

                 f. Inform the Class Member of the specific requirements for making a
                    timely objection and that failure to meet such requirements shall be
                    deemed a waiver of the objection.

      16. If as a result of the mailing, a forwarding address is provided by the postal Service,

         but the Mailed Notice is not forwarded by the Postal Service, the Claims

         Administrator will re-mail the Mailed Notice to the forwarding address. In the

         event that any Mailed Notice is returned as undeliverable a second time, the Claims

         Administrator will notify Class Counsel and Defense Counsel of the inability to

         serve the Mailed Notice to the affected Class Member, and:

             a. Provide Class Counsel and Defense Counsel with the names of the unlocated

                 Class Members, and the addresses for which the Claims Administrator

                 unsuccessfully attempted to serve the Mailed Notices;

             b. Class Counsel will be given an opportunity to then also attempt to locate the

                 missing Class Members and serve the Mailed Notice to them.

             c. In the event the missing Class Member is not located after a search by Class

                 Counsel, no checks shall be mailed to the missing Class Member.

      17. Within thirty (30) days of the entry of the Preliminary Approval Order, the




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         Claims Administrator shall issue a published notice (“Published Notice”), in the

         form of Exhibit “B” attached hereto without material alteration, in the [publication

         approved by the Court which is generally recognized as having the largest

         circulation in the area and most likely to reach the most potential class members].

         The Claims Administrator will file with the Court proof of publication of the

         Published Notice within 30 days of the publication date. The published notice shall

         appear for three consecutive Sundays.

      18. Class Members shall be permitted to speak with Class Counsel regarding the

         Settlement Agreement, the Settlement Class and the Procedure for Approving the

         Settlement, among other things. Class Counsel shall be available by telephone to

         answer questions by the Named Plaintiff and Class Members regarding the terms of

         this Agreement. The Claims Administrator shall file proof of mailing of the Mailed

         Notice at or before the date of the Fairness Hearing.

      19. Notwithstanding the aforementioned procedure, if it is determined an individual

         should have been included as a Class Member but was erroneously excluded, or if

         the individual was a Class Member but failed to receive a settlement check, then

         such an individual shall be entitled to participate in the class, subject to the

         availability of funds in the Settlement Fund, and approval of the Court, provided

         that prior to dismissal of the action, the individual (a) notifies Class Counsel of their

         updated contact information; and (b) the individual’s eligibility and status as a Class

         Member is confirmed.




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                                         VI. OBJECTIONS

      20. In order to object to the fairness, reasonableness, or adequacy of this Agreement, or

         any term herein:

                 a. Class Members shall mail the objection to Class Counsel and the Claims

                     Administrator, no later than thirty (30) days after the postmarked date of

                     the Mailed Notice and at least thirty (30) days prior to the Final

                     Approval Hearing; or

                 b. If an attorney is hired by a Class Member, at the Class Member’s

                     expense, for the purpose of objecting to this Agreement, or any term

                     herein, then such attorney shall mail the objection to Class Counsel and

                     the Claims Administrator, no later than thirty (30) days after the

                     postmarked date of Mailed Notice and at least thirty (30) days prior to

                     the Final Approval Hearing.

      21. Objections made pursuant to Paragraph 20 must include:

             a. A heading that refers to the Action by case name (Mark Long v. Madison

                 County Sheriff) and case number (1:17-CV-142-SEB-MG);

             b. Information demonstrating the objector is a Class Member, specifically the

                 objector’s:

                     i. Name;

                    ii. Address;

                    iii. Date(s) of arrest(s) that fall within the class period (to the extent

                         known);

                    iv. Date of birth; and



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                     v. Last four digits of the objector’s Social Security Number;

             c. A statement whether the objector intends to appear at the Fairness Hearing

                 and whether the objector intends to make a statement at the Fairness Hearing

                 (such appearances and statements may only be made by the objector or by

                 objector’s own counsel);

             d. A statement identifying any counsel representing the objector (other than

                 Class Counsel), specifically counsel’s:

                       i. Name;

                     ii. Bar Number;

                    iii. Firm Address;

                    iv. Telephone number; and

                     v. Email address;

             e. A statement of the specific legal and factual basis for each objection;

             f. A description of any and all evidence the objector may offer at the Final

                 Approval hearing; and

             g. The objector’s signature.

      22. If the objector fails to timely serve their objection to the Claims Administrator

         within the time frame set forth above, and/or fails to provide all required

         information set forth above, then the objection shall be deemed untimely, waived,

         and denied.

      23. The right to object to this Agreement may be exercised individually by a Class

         Member or Class Member’s personal attorney. This right may not be exercised as a

         member of a group or class, or, except in the case of a deceased or incapacitated




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          Class Member, by a third party acting, or purporting to act, in any other

          representative capacity on behalf of the Class Member.

      24. Class Counsel and the Claims Administrator will provide Defense Counsel with

          copies of all objections, notices of intention to appear, and other communications

          that come into its possession.

      25. If any privileged communications are disclosed in any objections, notices of

          intention to appear, or other related communications by Class Members, the

          privilege shall not be deemed waived by such disclosure.

      26. The Claims Administrator shall forward all objections to Class Counsel and

         Defense Counsel within two (2) Business Days of receipt.

      27. Class Counsel and Defense Counsel shall report to the Court, within fifteen (15)

          days prior to the Fairness Hearing, their joint or respective responses to each timely

          objection.

      28. The final approval hearing shall occur at least 90 days after the notice required

          under the Class Action Fairness Act (CAFA) is provided.

                                   VII. SETTLEMENT FUND

      29. The amount of $623,591.04 to be paid into a Settlement Fund established by Rust

          Consulting, is fair and adequate to cover all awards and payments to Class Members

          that are required by this Agreement. Additional payments may be made by the

          Defendant directly to the Special Master and Class Counsel as set forth below, upon

          approval of the Court.

      30. The Claims Administrator shall administer the Settlement Fund.

      31. Defendant shall pay a total of $623,591.04 into the Settlement Fund established by

          Rust Consulting.


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      32. Defendant shall deliver the Settlement Fund to Rust Consulting by the later of the

         following:

             a. Fifteen (15) days after any appeal taken from the Final Approval Order is

                 fully and finally resolved and is no longer subject to review by any court; or

             b. Forty-Five (45) days after the entry of the Final Approval Order, if no

                 appeal is taken.

                              VIII. RECOVERY AND AWARDS

      33. Administration Costs

             a. If this Agreement receives final approval by the Court, the Defendant shall

                 pay all administrative costs incurred by the Claims Administrator, including

                 but not limited to, the costs of the Mailed Notices, the Published Notice, and

                 administering the Settlement Fund (“Administration Costs”) incurred by the

                 Claims Administrator, subject to court approval.

             b. The Claims Administrator Rust Consulting has provided an estimate of

                 anticipated Administration fees and costs of $55,329.00.

             c. The Claims Administrator shall perform all work necessary to effectuate the

                 Notices and administer this Agreement and the Settlement Fund.

                 Class Counsel and Defense Counsel have agreed on a list of Class Members,

                 their compensable time pursuant to law enforcement and court records, and

                 their addresses (based upon arrest/jail records and subject to modification

                 based upon updated address information, if obtained) which is attached

                 hereto as Exhibit “E”, Data Charts. Exhibit “E” shall be sent to the Claims

                 Administrator. All such information shall be treated confidentially and



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                returned to Defendant at the conclusion of the administration of this

                Agreement.

      34. Named Plaintiff’s Incentive Award

             a. Subject to Court approval, the Named Plaintiff is eligible to receive an

                additional incentive award (“Incentive Award”) not to exceed Five

                Thousand and 00/100 Dollars ($5,000.00).

             b. If an Incentive Award is approved by the Court, the Claims Administrator

                shall pay to the Named Plaintiff Mark Long, the amount of the approved

                Incentive Award out of the Settlement Fund.

             c. Notwithstanding an Incentive Award, Named Plaintiff Mark Long is also

                entitled to general damages from the Settlement Fund for time spent as a

                Gerstein over-detainee, and may be entitled to a special damages award

                (should he properly assert a special damages claim).

      35. Attorneys’ Fee Award. Reasonable and necessary attorneys’ fees, costs, and expenses

         incurred by Class Counsel shall be paid by the Defendant to Class Counsel once

         approved by the Court (“Attorneys’ Fee Award”).

             a. Class Counsel may petition the Court for an order awarding attorneys’ fees

                and costs, including as an Interim Attorneys Fee Award and/or Final

                Attorneys Fee Award.

             b. The Defendant will have an opportunity to review Class Counsel’s

                petition(s) and object if they so choose.

             c. A determination of awards of Interim Attorney Fees and Final Attorney Fees

                will be decided by the Court.


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             d. Any Attorneys’ Fee Award shall be paid to Class Counsel by the Defendant

                 within 30 days of any Order from the Court granting the award of fees

                 and/or costs to Class Counsel.

      36. Class Members’ Damages Awards

             a. The Defendant will deposit into the Settlement Fund $418,591.04 to compensate

                 identified and located class members at a rate of $28.00 per hour for general loss

                 of liberty damages.

             b. The Defendant will deposit an additional $200,000.00 into the Settlement Fund

                 to compensate class members for timely submitted special damages claims, to

                 the extent that a class member submits a timely special damages claim to Class

                 Counsel, with the amount of said award to be determined by the Special Master,

                 and subject to approval of the Court.

      37. Class Members Eligible for Payment for General Damages from Loss of Liberty.

         Each Class Member is entitled to payment for the general damages claims(s) for simple

      loss of liberty, in an amount calculated pursuant to this Paragraph.

             a. Payment amounts shall be calculated as provided below:

                     i. Class Members are eligible to receive a payment for general

                         damages (loss of liberty damages) based upon their total Gerstein

                         over-detention time (the number of hours over 48 hours after their

                         arrest until they either received a judicial probable cause

                         determination, were released and/or otherwise were no longer

                         Gerstein over-detainees), at an hourly rate of $28.00 per hour, and

                         must satisfy the following:




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                          1. The Class Member was arrested during the Settlement Class

                             period, without a judicial warrant pending;

                          2. The arrest records, court records, and/or Madison County

                             Sheriff’s records show that the Class Member was neither

                             released nor received a judicial determination of probable

                             cause within forty-eight (48) hours of arrest, nor did any

                             other lawful reason exist for continuing their detention

                             beyond 48 hours after arrest;

                          3. The arrest records, court records, and/or Madison County

                             Sheriff’s records demonstrate that more than forty-eight (48)

                             hours passed between the Class Member’s arrest and the

                             earlier of the: a) time of release or b) the time of judicial

                             determination of probable cause;

                          4. The arrest records, court records and/or Madison County

                             Sheriff’s records demonstrate there were no arrest warrants or

                             judicial orders in effect that authorized the individual’s

                             continued detention despite more than 48 hours having

                             passed since the individual’s arrest; and

                          5. The Class Member has been located for purposes of check

                             distribution.

                  ii. For purposes of calculating the payment amount, the time of arrest

                      shall be determined based upon the arrest records, jail records, and/or

                      court records regarding each Class Member.

                  iii. A properly presented claim for general damages is one in which:


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                             1. The class member’s name, applicable date of arrest, and

                                 calculated length of over-detention appears on the Parties’

                                 agreed to Over-Detention Data Chart;

                             2. No warrants, judicial orders, or other court records show

                                 the putative class member fails to meet criteria as a

                                 Gerstein over-detainee; and

                             3. The Class Member has been located by either the Claims

                                 Administrator or Class Counsel.

            b. If an individual claiming to be an omitted class member comes forth, the

               burden is on that individual to prove they meet criteria for participation in

               the class, including by producing sufficient court and arrest records showing

               they were arrested in the absence of a warrant, deposited in the Madison

               County Jail, and held there more than 48 hours after their arrest, in the

               absence of a judicial probable cause determination within that time period,

               or other lawful reason for continued detention beyond 48 hours (such as a

               judicial hold order, issuance of a warrant, an out of county-hold, pending

               probation or pending parole, etc.).

            c. If the payment amount required by this Paragraph exceeds the funds

               remaining in the Settlement Fund following payment of Administration

               Costs, the Incentive Award, the Individual Special Damages Awards, then

               payments to eligible Class Members shall be reduced on a pro rata basis so

               total payments made pursuant to this Agreement do not exceed the amount

               of the Settlement Fund.




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               d. Class Members who were over-detained more than once during the class

                   period, and who satisfy the definition of the Settlement Class for each

                   applicable over-detention, are eligible to receive payments for each separate

                   over-detention.

         38.      Class Members Entitled to Individual Special Damages Awards.

         a. The Parties agree to the appointment of either C. Erik Chickedantz or Scott

               Bunnel as Special Master, for the purpose of determining the value of each of

               eligible Class Member’s “Individual Special Damages Award”. Individual

               Special Damages Awards are to be determined by the appointed Special Master.

               Only those Class Members that submit timely Claims Forms, will be eligible to

               receive Individual Special Damages Award.

         b. The Defendant will be responsible for the payment of the Special Master’s fee up

               to $5,600. Class Counsel will be responsible for any portion of the Special

               Master’s fee exceeding $5,600.

         c. Individual Special Damages Awards shall be paid from the Settlement Fund.

                          i. An amount of $200,000.00 total will be deposited into the Settlement

                              Fund to pay for any and all special damages awards approved by the

                              Special Master and ordered by the Court;

                          ii. The aggregate total of all special damages awards to be made is

                              limited to no more than $200,000.00 total.

         39.      This Agreement is not conditioned upon any minimum or maximum Attorneys’

   Fee award, or upon payment of any maximum or minimum Incentive Award.




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          40.     The Claims Administrator shall mail payments to identified and located Class

   Members by first class U.S. Mail within thirty (30) days of Defendant’s payment to the

   Settlement Fund.

          a.      In the event a mailing is returned as “undeliverable” and a forwarding address is

          provided by the Post Office, the Claims Administrator will update the address in their

          database and re-mail the mailing to the address provided by the Post Office. In the event

          a mailing is returned as “undeliverable” and a forwarding address is not provided by the

          Post Office, the Claims Administrator will make reasonable efforts to locate the Class

          Member in order to locate a valid mailing address. Class Counsel will also be provided an

          opportunity to locate the missing Class Member.

          b.      Within 30 days of the Claims Administrator mailing checks or remailing

          settlement funds, if the settlement check or check for remailed funds was returned

          undeliverable, the Claims Administrator will notify Class Counsel of the unlocated Class

          Member’s name and the address to where the check(s) was mailed (or remailed).

          c.      When a settlement check, or check for remailed settlement funds has not been

          cashed nor deposited or within 30 days of its mailing, the Claims Administrator will

          notify Class Counsel, within 30 days of the mailing or remailing, of the applicable Class

          Member’s name and the address to which the mailed check or check for remailed

          settlement funds was sent.

          41.     The Claims Administrator shall indicate on the face of all issued checks that

   checks are void after ninety (90) days of issuance. In the event that settlement checks are not

   cashed or deposited within the 120 day Claims Period then those funds will revert back to the

   Defendant.




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       42.        The Claims Administrator shall file a final report with the Court within sixty

       (60) days after the conclusion of all distributions from the Settlement Fund.

       43.        The Claims Administrator shall pay Individual Special Damages as

       determined by the Special Master, within thirty (30) days of the Court approving the

       Special Master’s determination of the Special Damages Claimant’s Awards.

       44.        The Claims Period shall not exceed 120 days, beginning when the Claims

       Administrator sends the first Notice to Class Members.

                                       X. EFFECTIVE DATE

          45.     The “Effective Date” of this Agreement is the date on which all of the

       following conditions are met:

                  a.     This Agreement is fully executed by all Parties, Class Counsel, and

                         Defendant’s Counsel;

                  b.     A Preliminary Approval Order is entered by the Court, and an Order

                         is entered approving the Parties’ form of Notice and Claim form, all

                         as provided in this Agreement;

                  c.     The Court-approved Notice is duly promulgated as ordered by the
                         Court;

                  d.     The Court enters a Final Approval Order, finally approving this
                         Agreement; and

                  e.     The Final Approval Order has become Final.

          46.     The Parties may destroy any documents related to the Notice and

   administration of this Agreement no earlier than eighteen (18) months after the Effective

   Date of this Agreement.




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                               IX. PRELIMINARY APPROVAL

      47.       Upon execution of this Agreement, the Parties shall promptly move the Court to

      enter a Preliminary Approval Order, without material alteration from the Parties’ proposed

      Preliminary Approval Order attached hereto as Exhibit “C” which provides as follows:

                    a. Preliminary approval of this Agreement;

                    b. Schedules a Fairness Hearing to consider the fairness, reasonableness,

                    and adequacy of the proposed settlement and whether it should be

                    granted final approval by the Court;

                    c. Finds this Agreement to be sufficiently fair to warrant providing

                    notice to the Settlement Class;

                    d. Approves the Mailed Notice without material alteration from Exhibit

                    “A” hereto;

                    e. Approves the Published Notice without material alteration from

                    Exhibit “B” hereto, and directs it be published in accordance with the

                    Notice Plan, as set forth in Paragraph 17 of this Agreement;

                    f. Determines the Mailed Notice and Published Notice (collectively

                    “Notice”) i) is the best practicable notice; ii) is reasonably calculated,

                    under the circumstances, to apprise potential Class Members of the

                    pendency of the Action and of their right to object to this Agreement; iii)

                    is reasonable and constitutes due, adequate, and sufficient notice to all

                    persons entitled to receive notice; and iv) meets all applicable

                    requirements of due process and federal law;




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                  g. Requires proof of mailing of Mailed Notice be filed by Claims

                      Administrator at or before date of the Fairness Hearing;

                  h. Directs the Claims Administrator to maintain a telephone system to

                      answer questions from the Named Plaintiff and Class Members;

                  i. Requires objections by Class Members, whether independently or by

                      counsel, be made as set forth in Paragraphs 20 – 21 of this Agreement.

                  j. Contains any additional provisions agreed to by the Parties which are

                      necessary to implement this Agreement.

                  k. Appoints Rust Consulting as Claims Administrator for the Class.

            XII. FINAL APPROVAL, DISMISSAL OF CLAIMS, AND RELEASES

         48.     Final Approval & Dismissal. If, following the Fairness Hearing, the Court

       grants final approval of this Agreement (including any modifications made by the Parties as

       provided for herein), the Parties request the Court enter a Final Approval Order, in

       substantially the same form as the Parties’ proposed Final Approval Order attached hereto

       as Exhibit “D” which provides in part:

                  a. Finds the Court has personal jurisdiction over all Class Members and

                      subject matter jurisdiction to approve this Agreement and all Exhibits

                      hereto;

                  b. Finds this Agreement fair, reasonable, and adequate, and in the best

                      interest of, the Named Plaintiff and the Settlement Class, and in

                      compliance with all requirements of due process and federal law;

                  c. Grants final approval to the settlement of this Action as set forth in this

                      Agreement;




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               d. Directs the Parties, Class Counsel, and Defense Counsel to consummate,

                   implement, and administer this Agreement in accordance with its terms;

               e. Declares this Agreement and the Final Approval Order to be binding on,

                   and have res judicata and preclusive effect in, all pending and future

                   lawsuits or other proceedings encompassed by the Release maintained by

                   or on behalf of the Named Plaintiff and the Settlement Class, as well as

                   their heirs, representatives, executors and administrators, successors, and

                   assigns;

               f. Finds the Mailed Notice, Published Notice and Notice Plan set forth in

                   this Agreement is the best practicable notice; ii) is reasonably calculated,

                   under the circumstances, to apprise Class Members of the pendency of

                   the Action and of their right to object to this Agreement and appear at

                   the Fairness Hearing; iii.) is reasonable and constitutes due, adequate,

                   and sufficient notice to all persons entitled to receive notice; and iv)

                   meets all applicable requirements of due process and federal law.

              g.   Finds that Named Plaintiff and Class Counsel adequately represent the

                   Settlement Class for the purpose of consummating, implementing, and

                   administering this Agreement;

              h.   Finds the Parties’ Agreed to Claims Administrator Rust Consulting

                   meets all the requirements of the Court as set forth in the Preliminary

                   Approval Order and this Agreement;

                   i. Dismisses this Action, including all individual and class claims

                   presented therein, on the merits as to the Defendant and other Releasees,




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                   with prejudice, and without fees or costs except as expressly provided

                   herein;

            j. Retains, by consent of the Parties, jurisdiction solely for the purpose of

               enforcing the terms of this Agreement;

            k. Adjudges the Named Plaintiff and Settlement Class have conclusively

            compromised, settled, discharged, dismissed, and released any and all claims

            against Defendant and other Releasees;

            l. Approves the payment of the Attorneys’ Fee Award to Class Counsel and the

            payment of the Incentive Award to the Named Plaintiff as set forth in this

            Agreement;

            m. Bars, upon the Effective Date, the Named Plaintiff and Settlement Class from

            asserting any Released Claims against Defendant and the other Releasees;

            n. Bars Class Members from: Filing, commencing, prosecuting, intervening, or

            participating in any lawsuit or administrative, regulatory, arbitration, or other

            proceeding in any jurisdiction based on, relating to, or arising out of the claims

            and causes of action in, or the facts and circumstances relating to, this Action or

            the Released Claims (as defined herein);

            o. Bars Class Members from Organizing Class Members into a separate class for

            purposes of pursuing, as a purported class action, any lawsuit or administrative,

            regulatory, arbitration, or other proceeding in any jurisdiction based on, relating to,

            or arising out of the claims and causes of action in, or the facts and circumstances

            relating to, this Action or the Released Claims (as defined herein).




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             p. Authorizes the Parties, without further approval from the Court, to consummate

             and adopt such amendments, modifications, and expansions of this Agreement, and

             all Exhibits hereto, only if: i) Agreed upon by all parties; ii) Consistent in all

             material respects with the Final Approval Order; and ii) The rights of Class Members

             are not limited.

             q. Will approve the opt out of any individual that timely and properly requested

             exclusion from the Settlement Class and who accordingly shall neither share in nor

             be bound by the Final Order and Judgment.

      49. Release. The claims released by the Named Plaintiff and Settlement Class

         (“Released Claims”) are as follows:

                a. Named Plaintiff Release. As consideration for this Agreement, and

                    upon the Effective Date, the Named Plaintiff Mark Long, individually

                    and in his representative capacity as Class Representative, including all

                    agents, representatives, attorneys, heirs, successors, assigns, and any

                    other person acting on his behalf or for his benefit, hereby releases and

                    discharges Releasees from all claims, demands, debts, obligations,

                    lawsuits, rights, causes of action, compensatory and punitive damages,

                    attorneys’ fees, costs, debts, expenses and liabilities which Named

                    Plaintiff now has or had any time prior to and through the date of this

                    release arising out of or related to the allegations set forth in this Action

                    and contained in the Complaint in this Action.

                    b. Settlement Class Release. As consideration for this Agreement, and

                    upon the Effective Date, all Class Members, including all agents,




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                     representatives, attorneys, heirs, assigns, and successors and any other

                     person acting on their behalf or for their benefit, hereby release and

                     discharge Releasees from all claims, demands, debts, obligations,

                     lawsuits, rights, causes of action, compensatory and punitive damages,

                     attorneys’ fees, costs, debts, and liabilities which all Class Members now

                     have or had any time prior to and through the date of this release arising

                     out of or related to the allegations set forth in this Action and contained

                     in the Complaint in this Action.

      50. No term in this Agreement shall preclude any action to enforce the terms of this

         Agreement, including participation in any of the processes detailed herein.

      51. Releasors, and Releasors’ Counsel of Record for the consideration set forth in this

         Release Agreement, further agrees to satisfy any and all liens or claims against the

         proceeds of this Agreement, specifically including, but not limited to, any lien, claim or

         conditional payment reimbursement demand asserted by or on behalf of Medicare or any

         entity claiming any right of reimbursement under the Medicare Secondary Payer Act.

         Releasors further agree to hold harmless, indemnify and defend Releasee from any

         claims arising from the failure of Releasors to satisfy any such liens, claims, and/or

         Medicare conditional payment reimbursement demands. These obligations include

         Releasors’ payment and/or reimbursement of any and all reasonable attorney’s fees and

         expenses incurred by Releasee in connection with the failure of Releasors to satisfy any

         such liens, claims, and/or Medicare conditional payment reimbursement demands.

      52. Releasors also agree to hold harmless, indemnify, and defend Releasee with respect to

         any and all other claims that may be presented by Releasors, Medicare, and/or any other




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         party acting on Releasors’ or Medicare’s behalf, including, but not limited to,

         administrative or civil fines, penalties, and interest, as well as any damages that arise out

         of, result from, and/or occur as a consequence of any adverse administrative or legal

         actions, up to and including the loss of Releasors’ future Medicare benefits and/or

         Medicare eligibility. These obligations include Releasors’ payment and/or

         reimbursement of any and all reasonable attorney’s fees and expenses incurred by

         Releasee in connection with the failure of Releasors to perform these obligations. It will

         be the sole responsibility of the Defendant to take reasonable steps to determine, identify

         and confirm the absence of, and/or status of any Medicare liens asserted against any

         class member pertaining to the Class Member(s) settlement award. The failure of

         Releasees to take all reasonable steps to identify and determine the existence or absence

         of Medicare liens will relieve the Releasors of their obligations to hold Releasees

         harmless, indemnify, or defend Releasee with respect to any Medicare liens asserted

         against Releasors’ settlement fund awards.

                        XII.   WITHDRAWAL FROM SETTLEMENT

      53. Within fifteen (15) days of the occurrence of any of the following events, and upon

         written notice to Class Counsel and Defense Counsel, any Party may withdraw from

         this Agreement if:

            a. The Court fails to approve this Agreement or, on appeal, the Court’s approval

                is reversed or modified;

            b. The Court materially alters any of the terms of the Agreement; or

            c. The Preliminary Approval Order or the Final Approval Order is not entered

                by the Court, is reversed or modified on appeal, or otherwise fails.




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      54. If this Agreement is not approved by the Court or otherwise fails to become

         effective, then:

            a. The orders, judgment, and dismissal to be entered pursuant to this Agreement

                shall be vacated;

            b. This Agreement shall have no further force and effect;

            c. The Parties will be returned to the status quo ante with respect to this Action

                as if this Agreement had never been entered into, including the return of any

                prior payments made by Defendant;

            d. The Named Plaintiff shall be entitled to continue this Action on behalf of the

                Settlement Class in accordance with the rulings, circumstances, and

                procedural posture that existed in this Action on the date of the Preliminary

                Approval Order; and

            e. Defendant shall retain all rights to continue its defense to this Action and to

                assert claims in accordance with the rulings, circumstances, and procedural

                posture that existed in this Action on the date of the Preliminary Approval

                Order.

     XIV. ACKNOWLEDGMENTS, REPRESENTATIONS AND WARRANTIES

      55. The Parties, Class Counsel, and Defense Counsel acknowledge that a stipulation of

         liability was entered into and filed by the Parties, establishing there is sufficient

         evidence in this case to establish the existence of a constitutionally inadequate

         custom at the Madison County Jail from January 13, 2015 to July 1, 2018, whereby

         certain individuals who were arrested without a warrant and booked into the Jail

         were or may have been held over 48 hours after their arrest in the absence of a




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         timely judicial probable cause determination and/or other timely judicial order for

         their continued detention, and that said constitutionally inadequate custom was the

         cause of the Fourth Amendment violations suffered by the Plaintiff and the class

         members.

      56. The Parties, Class Counsel, and Defense Counsel acknowledge the Plaintiff is a

         prevailing party pursuant to 42 U.S.C. §§ 1983 and 1988, and the Plaintiff met the

         standard for prevailing-party status set forth in Buckhannon Board & Care Home,

         Inc. v. West Virginia Dept. of Health & Human Resources, 532 U.S. 598 (2001).

         Attorneys’ fees shall be subject to Court review for reasonableness and will be

         determined at a later date.

      57. Although premised upon a finding of a constitutionally inadequate custom of the

         Defendant, settlement of this Action is not an admission of damages suffered by the

         Named Plaintiff or Class Members.

      58. The Parties, Class Counsel, and Defense Counsel acknowledge settlement of this

         Action is made to avoid the uncertainty of the outcome of litigation, the expense of

         further litigation, and for judicial economy.

      59. The Named Plaintiff, Class Members, and Class Counsel agree not to use the

         settlement of this Action or Defendant’s liability stipulation against the Defendant

         in this or any other proceeding (excepting any actions to enforce this agreement).

      60. The Parties warrant the following:

            a. Parties are executing this Agreement freely and voluntarily;

            b. The provisions of this Agreement are of material benefit to the Parties;

            c. The duties and obligations imposed by this Agreement are fair and

                reasonable;


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                d. The Parties have read and fully understand the terms and conditions of

                    this Agreement;

                e. The Parties fully appreciate the benefits and consequences of entering

                    into this Agreement;

            f. The Parties reviewed the terms of this Agreement with their respective

               counsel;

            g. The Parties were not induced to execute this Agreement in reliance on any

               warranty or representation, express or implied, by any Party, other than the

               warranties and representations expressly made in this Agreement.

                                   XV. MISCELLANEOUS

      61. Governing Law. This Agreement shall be governed by the laws of the State of Indiana.

      62. Construction.

            a. This Agreement shall not be construed more strictly against one Party than

               another Party.

            b. This Agreement is the result of an arm’s length negotiation and all Parties

               have contributed substantially and materially to the preparation of this

               Agreement.

            c. The headings and captions contained in this Agreement are only for reference

               and shall not be deemed to define, extend, limit, describe, or affect the scope,

               intent, meaning, or interpretation of this Agreement.

            d. This Agreement shall not be construed to prevent Defendant from

               communicating by any medium with Class Members in the ordinary course

               of business.




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      63. Execution.

            a. The Parties shall execute all documents and perform all tasks reasonably

                necessary and proper to effectuate the terms of this Agreement prior to the

                Fairness Hearing.

            b. The Parties shall reasonably cooperate in the submission of this Agreement to

                the Court and will recommend acceptance of this Agreement by all necessary

                parties.

            c. The Parties shall reasonably cooperate in all other actions required by the

                Court for the implementation and administration of this Agreement.

      64. Party Notices.

                 a. All documents, papers, and notices required by this Agreement to be
                    provided to Named Plaintiff, the Settlement Class, or Class Counsel,
                    shall be provided to:

                                    Christopher C. Myers
                                    Ilene M. Smith
                                    Christopher C. Myers & Associates
                                    809 S. Calhoun St., Ste. 400
                                    Fort Wayne, IN 46802

                 b. All documents, papers, and notices required by this Agreement to be
                    provided to Defendant, or Defense Counsel, shall be provided to:

                                    Casey Stansbury
                                    Curt Graham
                                    Freeman, Mathis & Gary, LLP
                                    2525 Harrodsburg Road, Suite 500
                                    Lexington KY 40504

      65. Integration. Except as expressly provided herein, this Agreement constitutes the entire

         settlement and release agreement between the Parties, and it supersedes all prior and

         contemporaneous written and oral agreements between the Parties. All negotiations,

         discussions, prior understandings and agreements between the Parties regarding this

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         Action are hereby merged into this Agreement. This Agreement fully, completely, and

         accurately states the Parties’ settlement and release agreement.

      66. Modifications and Amendments. This Agreement may be modified only upon a

             writing signed by the Parties, Class Counsel, and Defense Counsel. If there are

             any issues concerning the implementation and administration of this Agreement

             not expressly addressed by the terms herein, then the Parties, Class Counsel, and

             Defense Counsel shall amend this Agreement, in a signed writing, to address

             such issues, and shall seek an order by the Court approving such amendments.

      67. Attorneys’ Fees. Except as expressly provided herein, the Parties are responsible for

         negotiation and payment of their own attorneys’ fees and costs. Class Counsel shall not

         seek, or receive, a total award of attorneys’ costs and fees beyond forty percent (40%) of

         the Settlement Fund, or the total hourly lodestar amount, whichever is the greater, as

         provided for in the Fee Agreement. Any award of attorneys’ fees will be subject to Court

         review, with the Defendant being given an opportunity to object and respond to Class

         Counsel’s petition for attorney’s fees.

      68. Deadline Dates. If any deadline date set forth in this Agreement falls on a Non-
          Business

             Day, then such deadline date shall be deemed to fall on the first Business Day

            thereafter. Except as expressly provided herein, “days” in this Agreement shall

            be deemed in reference to calendar days.

      69. Counterparts. This Agreement may be executed in counterparts, each of which

         together shall be deemed one and the same instrument. Facsimile and PDF signature

         copies are acceptable.




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      For Named Plaintiff and the Settlement Class:

      ______________________________________________
      Mark Long


       For the Defendant:

      _______________________________________________,
      Madison County Sheriff

      For Class Counsel:


      Christopher C. Myers
      Ilene M. Smith
      Christopher C. Myers & Associates
      809 S. Calhoun St., Ste. 400
      Fort Wayne, IN 46802
      Tel: (260) 424-0600
      Counsel for Named Plaintiff and Settlement Class

      For Defense Counsel:


      Casey Stansbury
      Curt Graham
      Freeman, Mathis & Gary, LLP
      2525 Harrodsburg Road, Suite 500
      Lexington KY 40504
      T: (859) 410-7855
      Counsel for Defendant




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